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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    CAMERON JONES,                                      Case No. 22-cv-07349-JST
                                                         Plaintiff,
                                   8
                                                 v.                                         ORDER OF DISMISSAL UPON
                                   9                                                        SETTLEMENT
                                  10    COUNTY OF MARIN, et al.,                            Re: ECF No. 48
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The parties have filed a notice of settlement within their most recent case management

                                  14   statement. ECF No. 48 at 2 (“The parties have reached an agreement to resolve this action in its

                                  15   entirety and intend to file a dismissal within sixty (60) days.”). Accordingly, any scheduled

                                  16   hearings or deadlines are vacated, and this matter is dismissed with prejudice. The Clerk shall

                                  17   close the file.

                                  18           This order will be vacated if any party, after meeting and conferring with opposing parties,

                                  19   files a notice that settlement has not occurred within 75 days of the date of this order.

                                  20           IT IS SO ORDERED.

                                  21   Dated: June 24, 2024
                                                                                        _______________________________________
                                  22                                                                   JON S. TIGAR
                                  23                                                             United States District Judge

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